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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                             AT LOUISVILLE


                               ELECTRONICALLY FILED




     UNITED STATES OF AMERICA                                    PLAINTIFF

     v.                      CRIMINAL ACTION NO. 3:19-CR-00208-RGJ

     JOSEPH SAMIR ZAKHARI                                     DEFENDANT


                    DEFENDANT ZAKHARI’S MOTION FOR
                        REVIEW OF RELEASE ORDER
                    PURSUANT TO 18 U.S.C. § 3145(a)(2)
           The Magistrate Judge decided on November 1, 2019, to

     release Joseph Zakhari pending trial subject to several restrictive

     conditions, one of which called for Mr. Zakhari to abide by

     “24-hour-a-day lock-down at [his parents’] residence except for

     medical necessities and court appearances or other activities

     specifically approved by the court.” (R. 8, Order Setting Conditions

     of Release at pg. 4 ¶ 7(p)(iii), Page ID # 16; R37, Transcript of

     Detention Hr’g, pg 59, Page ID # 170.) When he imposed this

     requirement of “home incarceration,” the Magistrate Judge

     proceeded beyond the modestly less-restrictive option of “home

     detention” and opted for the severest possible measure of
     confinement short of outright imprisonment.
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           Mr. Zakhari asks the Court to review the relevant evidence

     de novo and reduce the existing home incarceration mandate to

     home detention. 18 U.S.C. § 3145(a)(2); see United States v.

     Marcrum, 953 F.Supp.2d 877, 880 (W.D. Tenn. 2013) (de novo

     standard). If the Court considers this adjustment appropriate, Mr.

     Zakhari will be able – if his supervising probation officer so allows

     – to enter the back yard of his residence, and perhaps eventually to

     leave his home for exercise, religious services, job searching, and

     similar activities. (See R. 8, Order at pg. 4 ¶ 7(p)(ii), Page ID # 16
     (describing standard of “home detention”).)

           “The default position of the law,” explained the Sixth Circuit,

     “is that a defendant should be released pending trial.” United

     States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). The goal in all

     cases is to find “the least restrictive … combination of conditions”

     that will “reasonably assure the appearance of the [defendant] as

     required and the safety of any other person and the community….”

     18 U.S.C. § 3142(c)(1)(B); United States v. Vasilakos, 508 F.3d 401,
     411 (6th Cir. 2007). To that end, the Bail Reform Act calls for the

     judicial officer to “consider four factors: (1) the nature and

     circumstances of the offense; (2) the weight of the evidence; (3) the

     history and characteristics of the defendant; and (4) the nature

     and seriousness of the danger to any person or the community.”

     Vasilakos, 508 F.3d at 410-411 (citing 18 U.S.C. § 3142(g)(1)-(4)).

     The government must prove by a preponderance of the evidence



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     that the defendant constitutes a flight risk, and must show by

     clear and convincing evidence that he represents a danger to the

     community. United States v. Perry, 788 F.2d 100, 108 (3rd Cir.

     1986); United States v. Vortis, 785 F.2d 327 (D.C. Cir. 1986). For

     persons charged with Mr. Zakhari’s offense, the law adds a

     presumption favoring detention, § 3142(e)(3)(E), but the burden

     this places on the defendant “is not heavy”: it is rebutted when the

     defendant “introduce[s] at least some evidence” that “he does not

     pose a danger to the community or a risk of flight.” United States v.
     Stone, 608 F.3d 939, 945 (6th Cir. 2010).

           The government alleges that Mr. Zakhari came to the

     attention of law enforcement officers on October 6, 2019. (R. 1,

     Complaint, pg. 3 ¶ 4, Page ID # 3.) He was age 32, finishing

     medical school at the University of Louisville after having earned a

     Ph.D. a few years earlier. (R. 37, Tr. pp. 25, 33, Page ID # 136,

     144.) He had never before had a brush with the criminal justice

     system. (Id. at pg. 15, Page ID # 126.) The prosecution contends
     that he was using a text-messaging application associated with the

     popular social media platform “KiK,” and communicating under his

     own name, “jzakhari.” (R. 1, Compl. pg. 3 ¶4, Page ID # 3; R. 37,

     Tr. pp. 5-8, 51, Page ID # 116-119, 162.) He had reached out to a

     KiK account ostensibly belonging to a female (“boredcrbgirl”), but

     was actually conversing with an “undercover persona” controlled

     by a state Attorney General investigator. (R. 1, Compl. pg. 3 ¶4,



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     Page ID # 3; R. 37, Tr. pp. 6-7, Page ID # 117-118.) The

     conversation became “sexual”; the agent represented that his

     “undercover persona” was fifteen years old. (R. 1, Compl. pg. 3 ¶4,

     Page ID # 3; R. 37, Tr. pp. 6, 19, Page ID # 117, 130.) When Mr.

     Zakhari asked for photographs, the agent sent pictures of an adult

     female police officer who was working with the investigation.

     (R. 37, Tr. pp. 6-7, 22-23, Page ID # 117-118, 133-134.) At one

     point, according to the prosecution’s evidence, “jzakhari” asked

     “boredcrbgirl,” “Send me a pic of you doing the peace sign,” and a

     picture of the female police officer making the sign was

     immediately transmitted. The government asserts that by the

     afternoon of October 7, Mr. Zakhari was using graphic language in
     his texts:
           jzakhari-      Do you fuck random guys?
           boredcrbgirl- Nr
           boredcrbgirl- I only been w 3
           jzakhari-      Oh gotcha
           jzakhari-      Should we fuck?
           boredcrbgirl- Idk
           jzakhari-      Do you like giving head?
           boredcrbgirl- Wdy like
           jzakhari-      I want you to ride me
           jzakhari-      I also wanna fuck your ass




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     (R. 1, Compl. pg. 3 ¶4, Page ID # 3.) The prosecution asserts that,

     in addition to the coarse talk, Mr. Zakhari sent a “dick pic” image

     on October 7 and another one the following day. (Ibid.) The

     government says that, on October 8, Mr. Zakhari arranged to have

     an Uber driver pick up the “undercover persona” (who was now

     played in real life by the female police officer whose pictures had

     been sent previously) and bring her to his apartment building;

     when the female officer arrived at the site, Mr. Zakhari came out to

     meet her, and was arrested. (Id. at pg. 4-5 ¶ 8, Page ID # 4-5.) All

     of Mr. Zakhari’s actions involved texting on his smart phone; he

     never physically left his residence, never tried to speak by

     telephone with the “undercover persona,” never initiated a video

     conference or other sort of non-text-based communication – all of

     his actions required the use of a smart phone with access to the
     internet.

           Mr. Zakhari’s phone was taken from him immediately;

     forensic testing by the government has produced no evidence of
     wrongdoing other than the alleged misconduct in the present case.

     All of Mr. Zakhari’s electronic devices were removed from his

     apartment on October 8; they, too, contain no relevant evidence, a

     reality that has either been confirmed by government experts

     already, or will be confirmed by them as soon as they get around to

     examining the equipment. (The seized devices were reportedly “in

     the queue for analysis” as of mid-February: see R. 30, U.S. Resp.



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     at pg. 5, Page ID # 86.) The proof thus demonstrates that if Mr.

     Zakhari has ever misused his smart phone or computer equipment

     in any fashion on any occasion, it was solely in connection with the

     events of October 6-8, 2019 – his electronic life history is otherwise
     a clean slate.

           Mr. Zakhari’s parents are professionals with doctorates – his

     father, a pharmacologist, is a scientific affairs administrator in

     private business, and was formerly a director of basic research for

     a division of the National Institutes of Health; his mother, a

     sociologist, is retired after a career as professor of criminology at

     American University. Mr. Zakhari’s father came to Louisville from

     the family home in College Park, Maryland, to attend Mr. Zakhari’s

     detention hearing, and he volunteered himself and his wife for the

     role of third-party custodians. (R. 37, Tr. pp. 29-34, Page ID #

     140-145.) The elder Dr. Zakhari’s testimony so impressed the

     Magistrate Judge that he later commented, “I don’t know that I’ve

     ever seen this degree of family support,” describing it as
     “extraordinary” and “very convincing.” (Id. at pp. 55-56, Page ID #
     166-167.)

           The government conceded at the detention hearing that Mr.

     Zakhari posed no risk of flight sufficient to justify incarceration

     pending trial. (R. 37, Tr. pg. 37, Page ID # 148.) The probation

     officer’s pretrial services report offered the view that Mr. Zakhari

     should not be detained; the report recommended a variety of



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     stringent limits, including custodianship by Mr. Zakhari’s parents

     at their Maryland residence, but did not propose home
     incarceration. (See id. at pp. 25-27, Page ID # 136-138.)

           The Magistrate Judge concluded that the presumption

     favoring detention had been rebutted. (R. 37, Tr. pg. 55, Page ID #

     166.) Ultimately, he said, “[t]he only danger that I have been given

     any reason to believe might be at play here is … further access to

     the internet, perhaps up to and including the possibility of

     inappropriate contact with minors on the internet….” (Id. at
     pg. 57, Page ID # 168.)

           As framed by the Magistrate Judge, and indeed as justified

     by the evidence, the question under the Bail Reform Act in this

     case rightly focuses on the “danger [of] further access to the

     internet”: if there is proof that Mr. Zakhari poses any risk

     whatsoever, the evidence points exclusively to the risk that he

     might misuse electronic communications on the internet. That

     being the case, the Bail Reform Act directs the Court to identify

     “the least restrictive … combination of conditions” sufficient to

     control that specific risk. § 3142(c)(1)(B) (emphasis added).

     Section 3142 mandates a progressive approach to the issue of

     detention: courts begin with the least restrictive security option,

     and only if that option cannot “reasonably assure” the

     community’s safety and the defendant’s appearance at trial should

     a harsher alternative be considered. United States v. Maull, 773



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     F.2d 1479, 1481-1482 (8th Cir. 1985), and United States v. Orta,

     760 F.2d 887, 890-891 (8th Cir. 1985). In Mr. Zakhari’s case, then,

     a condition as stringent as home incarceration, with its unending

     physical lockdown, cannot properly be imposed unless all other

     lesser conditions, taken together, cannot “reasonably assure” that

     the community will be protected from whatever risk he
     demonstrably represents.

           Home incarceration mandates a level of confinement far in

     excess of what the circumstances warrant in our case. Analysts

     for the Federal Judicial Center have observed that “[i]ncarceration

     at home is the most severe form of home confinement….” Paul J.

     Hofer and Barbara S. Meierhoefer, Home Confinement: An Evolving

     Sanction in the Federal Criminal Justice System, pg. 6 (Fed. Judicial

     Ctr. 1987).1 “[T]he home substitutes for prison,” they explain:

     “Offenders are to remain there at all times with very limited

     exceptions … [and] are precluded from shopping, from working, or

     from having visitors outside prescribed hours. In some cases
     offenders may not even be allowed to go outside into their yards.”

     Ibid. (Mr. Zakhari is one such detainee.) “[T]he difficulty of serving

     such a sentence is underestimated when the isolation is not taken

     into account,” they note. Id. at pg. 29. “Remaining at home for

     long periods can be excruciatingly boring – a form of solitary

     1    Available at https://www.fjc.gov/sites/default/files
     /2012/HmCnfine.pdf.



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     confinement.” Ibid. And having a detainee home all day inevitably
     causes strain to other family members in the residence. Ibid.

            Home detention, though less severe than home

     incarceration, is hardly an easygoing experience. The Court’s

     standard order warns defendants that, while under home

     detention, they will be “restricted to [the] residence at all times

     except for employment; education; religious services; medical,

     substance abuse, or mental health treatment; attorney visits; court

     appearances; court-ordered obligations; or other activities

     approved in advance by the pretrial services office or supervising

     officer….” (R. 8, Order, pg. 4 ¶ (7)(p)(ii).) “The offenders’ freedom to

     go where they please is completely restricted,” note the Federal

     Judicial Center specialists. Home Confinement, pg. 6. “Home

     detention, if strictly enforced, is more punishing than curfew and

     affords greater control over an offender’s activities,” they add. Ibid.

     And to the extent any measure of liberty for the defendant is

     possible on home detention, that latitude cannot be enjoyed
     without the supervising probation officer’s prior approval: even a

     moment in the back yard would require the officer’s permission,

     and even an accommodation as slight as that would vanish the
     instant Mr. Zakhari failed to honor any of the officer’s instructions.

           The existing condition of home incarceration is stricter than

     necessary to protect society; it does not belong among “the least

     restrictive … combination of conditions” appropriate to ensure the



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     community’s security in the present case. Mr. Zakhari accordingly

     asks the Court to change his conditions of release so that he will

     be subject to “home detention” rather than the unnecessarily-
     restrictive mandates of “home incarceration.”

                                    Respectfully submitted,

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                           CERTIFICATE OF SERVICE
           On April 10, 2020, I electronically filed this document

     through the ECF system, which will send a notice of electronic

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